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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT COURT OF NEW JERSEY

McCoy etal.
               Plaintiffs
V.                                             Civil Action No.: 2:17-cv-10671

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                                                                                                    -<../) r -
                                                                                                    -1 - -
The Atlantic Amateur Hockey Association et al.                                                      ;::,:; (/)



               Defendants.
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              PLAINTIFF'S MOTION TO VACATE ORDER FILED                                   \. '
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                        APRIL 25™ 2018 (Dk. No. 8)
                                                                                        l., J
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       COMES THIS DAY, PlaintiffD' Ann McCoy, proceedingpro se, pursuant Rule

60(b) of the Federal Rules of Civil Procedure, and the authorities cited herein, who hereby

moves this Most Honorable Court to vacate its Order Filed on April 25th, 2018 (Document No.

8) granting a Motion for Voluntary Dismissal of all of his claims without prejudice against

Defendant USA Hockey, Inc., due to fraud being committed upon this Court by attorney

Matthew B. Weisberg, Esq. In support of this Motion, Plaintiff, after being first duly sworn

under the pains and penalties of perjury, respectfully represents as follows:

                                      INTRODUCTION

       Plaintiff, D' Ann McCoy, ex rel, D.M., a minor, individually by and through is parent,

bring this action for monetary damages, and other appropriate relief to redress the intentional

violations of Plaintiffs civil rights, pursuant to 42 U.S.C. §§1981, 1983, 1985, 1988, Title VI

and Title IX of the Civil Rights Act, 42 U.S.C. §2000d et seq., secured under the laws of the

United States and provisions of the laws of the State of New Jersey, against The Atlantic




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Amateur Hockey Association, the Atlantic District Player Development Program, John Riley,

and Colleen Marinari, collectively referred to as Defendants.

          Plaintiffs action also arises under the Civil Rights Acts of 1871, as amended,

42 U.S.C. § 1981, 1983, 1985, 1988, Title VI of the Civil Rights Act, 42 U.S.C. §2000d et seq.,

the Fourth and Fourteenth Amendments to the Constitution of the United States, for race

discrimination, and denial of equal protection on the basis of race.

          Plaintiff also asserts that he was subjected to discriminatory and retaliatory actions by

Defendants after Plaintiff, through his mother and legal guardian, protesting Defendants'

discriminatory actions, in violation of Plaintiffs First Amendment right to free speech.

                                   STANDARD OF REVIEW

          "Fraud upon the court" has been defined by a United States Court of Appeals to "embrace

that species of fraud which does, or attempts to, defile the court itself, or is a fraud perpetrated by

officers of the court so that the judicial machinery cannot perform in the usual manner its

impartial task of adjudging cases that are presented for adjudication." Kenner v. C.I.R., 387 F.3d

689 (7 1h Cir. 1968); 7 Moore's Federal Practice, 2d ed., p. 512, ,r 60.23.

          Lawyers are professionally and ethically responsible for accuracy in their representations

to the Court. Rule 3 .1 of the Model Rules of Professional Conduct states that lawyers "shall not

bring or defend a proceeding, or assert or controvert an issue therein, unless there is a basis in

law and fact for doing so that is not frivolous, which includes a good-faith argument for an

extension, modification or reversal of existing law." Similarly, Rule 3.3 provides that "[a] lawyer

shall not knowingly ... make a false statement of fact or law to a tribunal or fail to correct a

false statement of material fact or law previously made to the tribunal by the lawyer." Id. at

3.3(a).


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        In Kupferman v. Consolidated Research & Manufacturing Corp, the court stated that

           [w ]hile an attorney "should represent his client with singular loyalty that
           loyalty obviously does not demand that he act dishonestly or fraudulently; on
           the contrary his loyalty to the Court, as an officer thereof, demands integrity
           and honest dealing with the court." And when he departs from that standard
           in the conduct of a case he perpetrates a fraud upon the court. Id. 459 F.2d
           1072, 1078 (2d Cir. 1972).

        In Aoude v. Mobil Oil Corp, the Court stated:

           The requisite fraud on the Court occurs where "it can be demonstrated, clearly
           and convincingly, that a party has sentimentally set in motion some
           unconscionable scheme calculated to interfere with the judicial system's
           ability impartially to adjudicate a matter by improperly influencing the trier
           of fact or unfairly hampering the presentation of the opposing party's claim
           or defense." Id. 892 F.2d 1115, 1118 (1st Cir.1989).

        In New Jersey, a cause of action for common law fraud has five elements: (1) a material

misrepresentation of a presently existing or past fact; (2) knowledge or belief by the defendant of

its falsity; (3) an intention that the other person rely on it; (4) reasonable reliance thereon by the

other person; and (5) resulting damages. Gennari v. Weichert Co. Realtors, 148 N.J. 582, 691

A.2d 350,367 (1997). Kuzian v. Electrolux Home Prods., Inc., 937 F. Supp. 2d 599, 614-615

(D.N.J. 2013).

        The law has a specific definition what constitutes actionable legal fraud. "Although the

word 'fraud' maybe used in common parlance to connote any practice involving shady or

underhanded dealing, in law it is a term of art with a precise definition." Banco Popular N. Am.

v. Gandi, 184 N .J. 161, 17 5 (2005). In order to assert a legal fraud claim the moving party must

establish the following five elements by clear and convincing evidence: "(1) [a] material

misrepresentation of a presently existing or past fact; (2) knowledge or belief by defendant of its

falsity; (3) an intention that the other person rely on it; (4) reasonable reliance thereon by the

other person; and (5) resulting harm." Jewish Ctr. of Sussex Cty v. Whale, 86 N.J. 619, 624-625

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(1991); see also Simpson v. Widger, 311 N.J. Super. 379,392 (App. Div. 1998) (holding that

"fraud must be proven by clear and convincing evidence").

        "There is no question of the general doctrine that fraud vitiates the most solemn

contracts, documents, and evenjudgments." United States v. Throckmorton, 98 U.S. 61 (1878).

                                                   FACTS

        In the instant case, Plaintiff originally retained attorney Matthew B. Weisberg, Esq.

("Weisberg"), a duly licensed attorney admitted to the Bar of this Court, currently serving as an

officer thereof.

        Prior to the filing of this action, Plaintiff met with Weisberg and after discussing the

merits of her case with her, agreed to represent Plaintiff in this case, and filed the Complaint of

the Plaintiff currently pending before this Court.

        As a condition ofWeisberg's representation of Plaintiff, after mutual consideration by

both parties it was, among of things, agreed to that Weisberg would clearly and unambiguously

communicate with Plaintiff as to any and all actions taken in this case before any action was

taken, and that no action would be taken without first obtaining the informed consent of the

Plaintiff.

        New Jersey Rule of Professional Conduct, RPC 1.4 Communication, states:

             (a) A lawyer shall fully inform a prospective client of how, when, and where the
             client may communicate with the lawyer;

             (b) A lawyer shall keep a client reasonably informed about the status of a matter
             and promptly comply with reasonable requests for information;

             (c) A lawyer shall explain a matter to the extent reasonably necessary to permit
             the client to make informed decisions regarding the representation;

             (d) When a lawyer knows that a client expects assistance not permitted by the
             Rules of Professional Conduct or other law, the lawyer shall advise the client of
             the relevant limitations on the lawyer's conduct.


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        On or about April 23rd, 2018, absent ever discussing this matter with Plaintiff, on his own

accord, with the intent that this Court would rely thereupon, filed in this Court Plaintiff's

Response in Opposition to Defendant, USA Hockey Inc. 's Motion to Dismiss via. Plaintiff's

Request to Voluntary Dismissal, Without Prejudice ("Motion") filed in the record of this case as

Document No. 12.

       Weisberg, when he filed the Motion, thereby made a representation of fact to this Court

that Plaintiff consented to the voluntary dismissal of USA Hockey, Inc.

        At no point in time or in any fashion whatsoever did Weisberg ever communicate,

discuss, advise, much less gain the implied consent of Plaintiff to represent to the Court that

Plaintiff wished to voluntarily dismiss USA Hockey, Inc. as a party to this case. Weisberg never

discussed the elements of the causes of action upon which relies or whether Plaintiff had any

defenses based in either fact oflaw that would overcome USA Hockey Inc.'s Motion to Dismiss.

       Plaintiff would not have and did not consent to the voluntary dismissal of

USA Hockey Inc. as a defendant and therefore Weisberg's representation to this Court was false.

       Weisberg's Motion asking this Court to enter an order voluntarily dismissing the primary

Defendant USA Hockey, Inc., is a material representation.

       Weisberg knew, and from previous interactions with Plaintiff, possessed sufficient

knowledge, that to any reasonable person could conclude that it was not Plaintiffs wish that

USA Hockey, Inc. be dismissed as a party to this case.

       Weisberg, acting as an officer of this Court and in his official capacity as "Attorney for

Plaintiff," filed Plaintiff's Response in Opposition to Defendant, USA Hockey Inc. 's Motion to

Dismiss via. Plaintiff's Request to Voluntary Dismissal, Without Prejudice, Docket No. 12,

hereby incorporated by reference as if fully set forth herein, with the intent that this Court would



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believe that it was the Plaintiffs intent that USA Hockey, Inc., be dismissed as a party and that it

be will of the Plaintiff that USA Hockey, Inc., be voluntarily dismissed as a party, which was the

matter reasonable contemplated by Weisberg.

        This Court did not have any knowledge that it was not Plaintiffs intention that USA

Hockey, Inc., be voluntarily dismissed as party to this case. This Court did not know that

Weisberg's representations set forth the Motion were false.

        Relying upon the false, material misrepresentations by Weisberg that Plaintiff consented

and desired that USA Hockey, Inc. be dismissed as a party, as set forth in the Plaintiff's

Response in Opposition to Defendant, USA Hockey Inc. 's Motion to Dismiss via. Plaintiff's

Request to Voluntary Dismissal, Without Prejudice, on April 24th, 2018 (Doc. 13), entered an

Order dismissing USA Hockey, Inc., as a party to this case, and voluntarily dismissing all of

Plaintiffs claims against USA Hockey, Inc., without prejudice.

        Being an Officer of this Court, an attorney duly licensed to practice law, this Court had a

right to rely upon Weisberg' s representations' that Plaintiff chose to dismiss USA Hockey, Inc as

a defend ant.

        Plaintiff and this Court were injured as a direct and proximate cause of the material, false

representations that Weisberg made to this Court when he filed Plaintiff's Response in

Opposition to Defendant, USA Hockey Inc. 's Motion to Dismiss via. Plaintiff's Request to

Voluntary Dismissal, Without Prejudice.

        Plaintiff hired Weisberg to remedy the unconstitutional violations of her civil rights and

to remedy the injuries she sustained by USA Hockey, Inc., and would not have hired Weisberg to

file the suit, simply to just dismiss them as a party.




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                                   LAW AND ARGUMENT

        In the United States, common law generally identifies nine elements needed to establish

fraud: (1) a representation of fact; (2) its falsity; (3) its materiality; (4) the representor's

knowledge of its falsity or ignorance of its truth; (5) the representor' s intent that it should be

acted upon by the person in the manner reasonably contemplated; (6) the injured party's

ignorance of its falsity; (7) the injured party's reliance on its truth; (8) the injured party's right to

rely thereon; and (9) the injured party's consequent and proximate injury. See, e.g., Strategic

Diversity, Inc. v. Alchemix Corp., 666 F.3d 1197, 1210 n.3, 2012 U.S. App. LEXIS 1175, at *25

n.3 (9th Cir. 2012) (quoting Staheli v. Kauffman, 122 Ariz. 380, 383, 595 P.2d 172, 175

(1979)); Rice v. McAlister, 268 Ore. 125, 128, 519 P.2d 1263, 1265 (1975); Heitman v. Brown

Grp., Inc., 638 S.W.2d 316,319, 1982 Mo. App. LEXIS 3159, at *4 (Mo. Ct. App. 1982); Prince

v. Bear River Mut. Ins. Co., 2002 UT 68, ,i 41, 56 P .3d 524, 536-3 7 (Utah 2002).

        To successfully allege a claim for common law fraud, a plaintiff must plead each element

with specificity and particularity. See, e.g., Baron v. Pfizer, Inc., 820 N.Y.S.2d 841, 12 Misc. 3d

1169(A) (N.Y. App. Div. 2006) (holding that New York law requires a cause of action for fraud

be pled with greater specificity than other causes of action (citing Small v. Lorillard Tobacco

Co., 94 N.Y.2d 43, 57, 720 N.E.2d 892, 898 (N.Y. 1999))); Enyart v. Transamerica Ins. Co., 195

Ariz. 71, 77,985 P.2d 556,562 (Ariz. Ct. App. 1998) ("Each element [of fraud] must be

supported by sufficient evidence. 'Fraud may never be established by doubtful, vague,

speculative, or inconclusive evidence."' (quoting Echols v. Beauty Built Homes, Inc., 132 Ariz.

498, 500, 64 7 P .2d 629, 631 (1982))); Liniger v. Sonenblick, 532 P .2d 53 8, 539-40, 23 Ariz.

App. 266, 267-68 (Ariz. Ct. App. 1975) ("Actionable fraud cannot exist without a concurrence of

all essential elements." (citing Nielson v. Flashberg, 101 Ariz. 335,339,419 P.2d 514,518


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(1966))); but see Zimmerman v. Loose, 162 Colo. 80, 87-88, 425 P.2d 803, 807 (1967)

(concluding that "fraud may be inferred from circumstantial evidence" and that direct proof of

reliance is unnecessary to prevail on a common law fraud claim); but see Denbo v. Badger, 503

P.2d 384, 386, 18 Ariz. App. 426,428 (Ariz. Ct. App. 1972) (reasoning that a party need not

allege with particularity whether the party "had a right to rely on representations," because this

element is "determined from the very facts alleged" (citing Jamison v. S. States Life Ins. Co., 412

P.2d 306, 3 Ariz. App. 131 (1966))).

       Notably, "conclusory language" will not satisfy the specificity requirement of a common

law fraud claim. Small v. Fritz Cos., Inc., 30 Cal. 4th 167, 184, 65 P.3d 1255, 1265 (Cal. 2003);

see Armed Forces Ins. Exch. v. Harrison, 2003 UT 14, 16, 70 P.3d 35, 40 (Utah 2003) (stressing

that "mere conclusory allegations in a pleading, unsupported by a recitation of relevant

surrounding facts, are insufficient to preclude summary judgment").

                          I. Opinions or Forecasts Are Not Actionable.

       As stated above, in order to assert a fraud, claim the moving party must assert a

"presently existing" misrepresentation of "fact." See Simpson, 311 N.J. Super. at 392 (holding

that"[p ]ossibilities are not 'presently existing' facts"); see also Daibo v. Kirsch, 316 N.J. Super.

580, 589-590 (App. Div. 1998). Hence a misstatement or misrepresentation of opinion is not

fraudulent. Gennari v. Weichert Co. Realtors, 288 N.J. Super. 504, 535 (App. Div. 1996).

Whether a statement is one of fact or one of opinion under New Jersey law is decided as follows:

         The distinction between fact and opinion is broadly indicated by the
         generalization that what was susceptible of exact knowledge when the statement
         is made is usually considered to be a matter of fact. Representation in regard to
         matters not susceptible of personal knowledge are generally to be regarded as
         mere expressions of opinion, and that is held to be so even though they are made
         positively and as thought they are based upon the maker's own knowledge.
         Usually, also, to say that a thing is only matter of opinion imports that it is
         unsusceptible of proof.


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Joseph J. Murphy Realty, Inc. v. Shervan, 159 NJ. Super. 546, 551 (App. Div. 1978). Using that

definition, Courts have held that possibilities or future forecasts are not presently existing

material misrepresentations of fact, but instead are in-actionable opinions. See Simpson, 311 NJ.

Super. at 392; Daibo, 316 NJ. Super. at 589-90.

  II. Exact Knowledge At the Time the Statement was Made Is Required To Prove Fraud.

       Additionally, "a statement's content must be susceptible of 'exact knowledge' at the time

it is made" to be a statement of fact. Alexander v. CIGNA, 991 F. Supp. 427,435 (D. NJ. 1998).

Because future business is merely an "opinion" of the "possibilities" and not "presently existing

facts," any predictions or projections of future payments which would flow to the Respondents

cannot be fraudulent as a matter of law. Simpson, 311 NJ. Super. at 392; Daibo, 316 N .J. Super.

at 589-590; Alexander, 991 F. Supp. at 435. Discussions as to the future projections cannot

constitute "presently existing" material misrepresentations as a matter oflaw.

                    III. A Party Must Show Scienter to Prove Legal Fraud.

       A party asserting a fraud claim must also prove by clear and convincing evidence that the

party who made the presently existing material misrepresentation did so with knowledge that the

fact was false and wanted the other party to rely on it. As such, if a defendant makes a

misstatement in error without any bad intent they cannot be held liable for legal fraud.

                          III. Detrimental Reliance Is Also Required.

       Moreover, in order to prove actionable legal fraud the party asserting the claim must

prove by clear and convincing evidence that they were tricked or fooled by the defendant's

misrepresentation. If the Plaintiff did not believe or consider the presently existing misstatement

of fact when they entered into the agreement then they could not maintain their legal fraud claim.




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                                              IV. Damages.

         The last element a party asserting a fraud claim must prove is that they suffered damages.

 Those damages must be linked to the presently existing or past misrepresentation of fact. Thus, if

 a party cannot show that it suffered any form of injury or damages caused by that

 misrepresentation their case must be dismissed as a matter of law.

                                              ANALYSIS

         The concept of fraud upon the court is most often invoked as a ground for vacating a

 judgment alleged to have been procured by perjured testimony or the submission of falsified

 evidence. See, e.g., Shammas v. Shammas, 9 N.J. 321,330 (1952) ("Perjured testimony that

 warrants disturbance of a final judgment must be shown by clear, convincing and satisfactory

 evidence to have been, not false merely, but to have been willfully and purposefully falsely

 given, and to have been material to the issue tried .... "); Gilgallon v. Bond, 279 N.J. Super. 265,

 267 (App. Div. 1995).

         The law has a specific definition what constitutes actionable legal fraud. "Although the

 word 'fraud' maybe used in common parlance to connote any practice involving shady or

 underhanded dealing, in law it is a term of art with a precise definition." Banco Popular N. Am.

 v. Gandi, 184 N.J. 161, 175 (2005).

         In order to assert a legal fraud claim under New Jersey Law the moving party must

 establish the following five elements by clear and convincing evidence: "(l) [a] material

 misrepresentation of a presently existing or past fact; (2) knowledge or belief by defendant of its

 falsity; (3) an intention that the other person rely on it; (4) reasonable reliance thereon by the

 other person; and (5) resulting harm." Jewish Ctr. of Sussex Cty v. Whale, 86 N.J. 619, 624-625




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(1991); see also Simpson v. Widger, 311 N.J. Super. 379,392 (App. Div. 1998) (holding that

"fraud must be proven by clear and convincing evidence").

       In this case, Plaintiff, who is untrained in the law, hired Weisberg to represent her in this

case and to file suit against USA Hockey, Inc. and others.

       During Plaintiff's consultation with Weisberg's, Plaintiff was explicit and clear that she

wanted to file a lawsuit against USA Hockey Inc., to redress the actions and inaction of

USA Hockey, Inc., asserted in the Complaint. It was Weisberg who drafted and prepared the

Complaint and filed the Complaint in this case against USA Hockey.

       Plaintiff never even mentioned or even uttered to Weisberg that she wanted to voluntarily

dismiss USA Hockey, Inc, as a party.

       Weisberg made a material misrepresentation of fact to this Court when Weisberg filed

Plaintiff's Response in Opposition to Defendant, USA Hockey Inc. 's Motion to Dismiss via.

Plaintiff's Request to Voluntary Dismissal, Without Prejudice.

       Weisberg knew full well that it was not the intention of the Plaintiff to voluntarily

dismiss USA Hockey, Inc. as a party to this suit, and filed the Motion with the intent that the

Court would believe it was.

       Relying upon Weisberg's material representation, this Court, believing that it was the

intention of the Plaintiff to dismiss them, entered the Order dismissing USA Hockey, Inc. as a

party complained of herein.

       As a direct and proximate cause of the actions of Weisberg complained of herein, against

the will of the Plaintiff USA Hockey, Inc., was erroneously dismissed as a party to this action

and this Court was frauded by an officer of its court, to-wit: Matthew B. Weisberg, Esq.




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                                        CONCLUSION

       "In order to prevail on a common law fraud claim, plaintiff must show that defendant: ( 1)

made a representation or omission of a material fact; (2) with knowledge of its falsity; (3)

intending that the representation or omission be relied upon; (4) which resulted in reasonable

reliance; and that (5) plaintiff suffered damages." DepoLink Court Reporting & Litig. Support

Servs. v. Rochman, 430 N.J. Super. 325,336 (App. Div. 2013) (citing Jewish Ctr. of Sussex

Cnty. v. Whale, 86 N.J. 619,624 (1981)).

       WHEREFORE, PlaintiffD'Ann McCoy, proceedingpro se, pursuant Rule 60(b) of the

Federal Rules of Civil Procedure, and the authorities cited herein, hereby moves this Most

Honorable Court to vacate its order Filed on April on April 25 1h, 2018, Docket No. 8, granting a

Motion for Voluntary Dismissal of Defendant USA Hockey, Inc., due to fraud being committed

upon this Court by attorney Matthew B. Weisberg, Esq., or that this Court will allow and provide

an oral hearing on the same to avoid the miscarriage of justice that will otherwise result.

                                                                           Respectfully Submitted,


                                                          ~I


                                                                                        nnMcCoy
                                                                            853 North Moss Street
                                                                           Philadelphia, PA 19139
                                                                                   (267) 972-0291
                                                                         dmccoy4ever@gmail.com




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                          DECLARATION OF D' Ann McCoy

       Pursuant, 28 U.S. Code§ 1746, after being first duly sworn under the pains and penalties

of perjury, by my signature below, swear and affirm that the foregoing is true and correct to the

best of my knowledge, information, and belief, and if given the opportunity I would testify on

the witness-stand before this Court to the verbosity of the same.

       Executed at Philadelphia, Pennsylvania onM41 't~2019




                                                                                   D'AnnMcCoy
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                                                                        dmccoy4ever@gmail.com




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                              CERTIFICATE OF SERVICE
                                                         tJ,
       I, D' Ann McCoy, hereby certify that on this    6 ·day of ~II}' 2019, a true and correct
copy of the foregoing Plaintiffs Motion to Vacate Order Entered April 25th 2018 (Dk. No. 8),

was mailed, via First Class, United States Postal Service, to:

                                  Thomas M. Reardon, III, Esq.
                                        Reardon Anderson
                                55 Gilbert Street North, Suite 2204
                                     Tinton Falls, NJ 07701;

                                    M. Elizabeth Duffy, Esq.
                           Kirmser, Lamastra, Cunningham, & Skinner
                                     202A Hall's Mill Road
                          P.O. Box 1675 Whitehouse Station, NJ 08889.




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